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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF MARYLAND
                                    (Northern Division)

CHASENBOSCOLO INJURY                                  :
LAWYERS
7852 Walker Drive, Suite 300                          :
Greenbelt, MD 20770
                                                      :
                Plaintiff,
                                                      :       Case No.:
       vs.
                                                      :
Kilee A. Bough
P.O. Box 681151                                       :
Fort Payne, AL 35968
                                                      :
                Defendant.

                                COMPLAINT FOR INTERPLEADER

       CHASENBOSCOLO INJURY LAWYERS (“CHASENBOSCOLO”),through counsel,

Benjamin T. Boscolo, pursuant to 28 U.S.C.A. § 1335, hereby files this action for interpleader

against Defendant Kilee Bough, and in support states as follows:

       1. On July 3, 2016, Defendant Kilee A. Bough, and Christine Nyambura Ndugo; were

             involved in a car crash. Defendant Bough suffered injuries as a result of the crash.

       2. Defendant Bough retained CHASENBOSCOLO to represent her in her negligence

             action.

       3. Defendant Bough executed a contingency fee retainer agreement, and agreed to

             attorney’s fees in the amount of at least one-third of the gross amount recovered.

             The Retainer Agreement also sets the recoverable attorney’s fees at forty percent

             (40%) once litigation is commenced. See, Retainer Agreement, attached hereto as

             Exhibit 1.

       4. Litigation was commenced by the filing of a Complaint in the Circuit Court for

             Baltimore City in Baltimore, Maryland, in the matter of Kilee A. Bough v. Christine N .

             Ndugo., Case No. 24-C-19-003490 on or about June 26, 2019.
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5. Ms. Ndugo noticed the case’s removal to this Honorable Court on the basis of 28

   U.S.C. § 1332(a) diversity on December 2, 2019.

6. Upon completion of discovery, the parties participated in mediation with the help of a

   magistrate judge.

7. As a result of the mediation and offer of $50,000.00 was made. This offer was

   verbally accepted by Defendant Bough on October 6, 2020.

8. A settlement order was issues on October 7, 2020.

9. Ms. Ndugo sent a General Release for Defendant Bough’s signature.

10. CHASENBOSCOLO reached out to Defendant Bough on October 9, 2020 with a

   draft copy of the General Release and Settlement Sheet. Undersigned counsel was

   unable to adequately answer several of Defendant Bough’s questions, resulting in

   Defendant Bough’s refusal to execute the General Release or settlement sheet.

11. CHASENBOSCOLO spoke with or attempted to speak with Defendant Bough
    regarding the Release and settlement on the following dates and times:
       a. Telephone call on October 9, 2020;
       b. Email on October 13, 2020;
       c. Numerous email October 15-20 2020;
       d. Email on October 22, 2020;
       e. Email on October 24, 2020;
       f. Several emails on November 1, 2020;
       g. Email on November 2, 2020;
       h. Several emails on November 17 and 18, 2020;
       i. Email on November 20, 2020;
       j. Telephone call on November 24, 2020;
       k. Emails and telephone calls on November 30, 2020;
       l. Emails on December 1, 2020;
       m. Emails and calls on December 10, 2020;
       n. Emails and telephone call on December 23, 2020;
       o. Emails on January 11-12, 2021;
       p. Emails on February 9-10, 2021;
       q. Emails on February 11-12, 2021;
       r. Emails on February 16, 2021;
       s. Email on February 23, 2021;
       t. Email on March 9, 2021;
       u. Email on March 17, 2021;
       v. Email on March 22, 2021;
       w. Emails and telephone calls on March 24-25, 2021.
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12. On July 21, 2021, as a result of Defendant Bough’s not signing the release, Ms.

   Ndugo filed a Motion to Enforce Settlement. The hearing judge arranged a

   mediation call on August 30, 2021 with undersigned Counsel and Defendant Bough

   to identify and mediate the issues which led to the release not being signed. Both

   parties agreed to exchange documents. Undersigned counsel produced these

   documents.

13. To date the Settlement release has not been executed.

14. On February 9, 2022, an Order was entered by the Honorable A. David Copperthite

   enforcing the settlement agreement that was entered into on October 9, 2020.

15. Undersigned counsel advised Defendant Bough that the Court had entered the Order

   and received a $50,000.00 check on March 7, 2022.

16. Due to an irreparable breakdown in communications between undersigned counsel

   and Defendant, the check has not been negotiated.

17. As a result of the crash, Defendant Bough treated with the following health care

   provider and incurred medical expenses:

       a. Gadsden Regional Medical Center
          Balance owed:  $237.30

       b. Alabama Associates Chiropractic Clinic
          Balance owed: $ 226.50

18. A health insurance lien in the amount of $3,187.41, of which $2,864.44 is owed to

   Blue Cross Blue Shield of Alabama.

19. The health insurance lien of $322.97 which was owed to Medicare Secondary Payer

   Recovery Contractor was paid in full by Defendant.

20. CHASENBOSCOLO is asserting a lien for attorney’s fees and costs out of the gross

   settlement amount. CHASENBOSCOLO is asserting a lien in the amount of twenty

   thousand dollars ($20,000.00) in attorneys’ fees and an additional three-thousand,
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   seven hundred and eighty-five dollars and sixteen cents ($3,785.16) in costs. The

   individual costs are as follows:

       a. CHASENBOSCOLO Administrative fee
               i. Cost: $150.00
       b. Planet Depos Deposition Services
               i. Cost: $1,466.39
       c. Melvin Shapiro Process Service
               i. Cost: $120.00
       d. ESQ Process Servers
               i. Cost: $90.00
       e. Robert Macht, M.D.,
               i. Deposition Cost: $1,200
       f. Circuit Court for Baltimore City filing fee
               i. Cost: $175.00
       g. Iron Mountain
               i. Cost: $172.00
       h. University of Maryland Medical Center
               i. Cost: 98.86
       i. VRC Companies, dba VitalChart
               i. Cost: $94.00
       j. Sharecare Health Data Services, LLC
               i. Cost: $17.66
       k. Acton Corporation
               i. Cost: $81.00
       l. VitalScan, LLC
               i. Cost: $30.00
       m. Rapid Care Family Medical Clinic
               i. Cost: $23.00
       n. Psychiatry South
               i. Cost: $12.00
       o. Alabama Associates Chiropractic Clinic
               i. Cost: $19.00

21. Undersigned counsel has been unable to adequately answer Ms. Bough’s questions

   sufficiently, such that she is unwilling to execute either the settlement release,

   settlement sheet or settlement check.

22. This communication breakdown has led to irreconcilable damage to the attorney-

   client relationship. As a result, CHASENBOSCOLO cannot disburse any monies to

   interested parties, and cannot close this matter without the assistance of the Court.
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   WHEREFORE, CHASENBOSCOLO respectfully requests this Honorable Court to interplead

the settlement funds and disburse as follows:

              a. Twenty-three thousand seven hundred eighty-five dollars and sixteen cents
                 ($23,785.16) made payable to CHASENBOSCOLO INJURY LAWYERS;
              b. Two-thousand eight hundred sixty-four dollars and forty-four cents
                 ($2,864.44) made payable to Blue Cross Blue Shield of Alabama;
              c. Three-hundred twenty-two dollars and ninety-seven cents ($322.97) made
                 payable to Medicare Secondary Payer Recovery Contractor;
              d. Two-hundred twenty-six dollars and fifty cents ($226.50) made payable to
                 Alabama Associate Chiropractic Clinic;
              e. Two-hundred thirty-seven dollars and thirty cents ($237.30) made payable to
                 Gadsden Regional Medical Center; and
              f. Twenty-two thousand, five-hundred sixty-three dollars and sixty-two cents
                 ($22,886.60) to Defendant Bough.

                                             Respectfully submitted,

                                             CHASENBOSCOLO INJURY LAWYERS

                                       By:
                                             Benjamin T. Boscolo
                                             CPF #8701010008
                                             Bboscolo@chasenboscolo.com
                                             7852 Walker Drive, Suite 300
                                             Greenbelt, Maryland 20770
                                             (301) 220-0050
                                             (301) 474-1230 fax
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              Plaintiff,
                                                   :      Case No.:
       vs.
                                                   :
Kilee A. Bough
P.O. Box 681151                                    :
Fort Payne, AL 35968
                                                   :
              Defendant.

                                LINE TO ISSUE SUMMONS

        Please issue summons for Defendant Kilee A. Bough at the addresses listed above and
return the same to our Greenbelt address for service by private process.

                                            Respectfully submitted,

                                            CHASENBOSCOLO INJURY LAWYERS

                                      By:
                                            Benjamin T. Boscolo, CPF #8701010008
                                            Bboscolo@chasenboscolo.com
                                            7852 Walker Drive, Suite 300
                                            Greenbelt, Maryland 20770
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Medicare No.: XXX-XX-XXXX A
